Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
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                                                               18PageID
                                                                  PageID#:#:10
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Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:62ofof22
                                                               18PageID
                                                                  PageID#:#:11
                                                                             37
Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:73ofof22
                                                               18PageID
                                                                  PageID#:#:12
                                                                             38
Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:84ofof22
                                                               18PageID
                                                                  PageID#:#:13
                                                                             39
Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:95ofof22
                                                               18PageID
                                                                  PageID#:#:14
                                                                             40
Case:
Case: 4:11-cv-01121-TIA
      4:11-cv-01121 Doc.Doc. #: 3 Filed:
                         #: 1-1    Filed:06/23/11
                                          06/23/11 Page:
                                                    Page:106 of
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                                                                   PageID #:
                                                                          #: 15
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Case:
Case: 4:11-cv-01121-TIA
      4:11-cv-01121 Doc.Doc. #: 3 Filed:
                         #: 1-1    Filed:06/23/11
                                          06/23/11 Page:
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                                                                   PageID #:
                                                                          #: 16
                                                                             42
Case:
Case: 4:11-cv-01121-TIA
      4:11-cv-01121 Doc.Doc. #: 3 Filed:
                         #: 1-1    Filed:06/23/11
                                          06/23/11 Page:
                                                    Page:128 of
                                                             of 22
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                                                                   PageID #:
                                                                          #: 17
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Case:
Case: 4:11-cv-01121-TIA
      4:11-cv-01121 Doc.Doc. #: 3 Filed:
                         #: 1-1    Filed:06/23/11
                                          06/23/11 Page:
                                                    Page:139 of
                                                             of 22
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                                                                   PageID #:
                                                                          #: 18
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Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:14
                                                         10ofof22
                                                                18PageID
                                                                   PageID#:#:19
                                                                              45
Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:15
                                                         11ofof22
                                                                18PageID
                                                                   PageID#:#:20
                                                                              46
Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:16
                                                         12ofof22
                                                                18PageID
                                                                   PageID#:#:21
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Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:17
                                                         13ofof22
                                                                18PageID
                                                                   PageID#:#:22
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Case:
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      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:18
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                                                                18PageID
                                                                   PageID#:#:23
                                                                              49
Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:19
                                                         15ofof22
                                                                18PageID
                                                                   PageID#:#:24
                                                                              50
Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:20
                                                         16ofof22
                                                                18PageID
                                                                   PageID#:#:25
                                                                              51
Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
                                         06/23/11 Page:
                                                   Page:21
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                                                                18PageID
                                                                   PageID#:#:26
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Case:
Case:4:11-cv-01121-TIA Doc.
      4:11-cv-01121 Doc.    #: 3 Filed:
                         #: 1-1   Filed:06/23/11
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